          Case 1:03-cr-05066-AWI-BAM Document 50 Filed 03/11/16 Page 1 of 3


1
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4    California Bar No. 108980
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5
     Attorney for
6    OCTAVIO GALLEGOS-VASQUEZ

7
                            UNITED STATES DISTRICT COURT
8
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
9
     UNITED STATES OF AMERICA,              No.0972 1:03CR05066-002AWI
10                                             0972 1:13CR00218-004AWI
               Plaintiff,                   STIPULATION TO CONTINUE
11                                          SENTENCING
                      v.
12                                          CURRENT SENTENCING HEARING:
     OCTAVIO GALLEGOS-VASQUEZ,              3/14/16, 10:00 a.m.
13
               Defendant.                   SENTENCING HEARING:
14                                          5-9/16 10:00 a.m.

15
          Arturo Hernandez-M, Defense Attorney for Defendant OCTAVIO
16
     GALLEGOS-VASQUEZ and Plaintiff United States of America, by and
17
     through its counsel of record, the United States Attorney for the
18
     Eastern District of California and Assistant United States Attorney
19
     Kathleen Servatius, hereby stipulate as follows:
20
          1.    Arturo Hernandez-M, Defense counsel for OCTAVIO GALLEGOS
21
     VASQUEZ, hereby requests additional time to finalize sentencing
22
     issues in this matter. Counsel has just received a certified copy of
23
     an Order For Dismissal from the Superior Court of Kern County Case
24
     No. BF101198A.    Such a Dismissal will have a highly relevant bearing
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     on sentencing issues, therefore needing to be addressed before a
26
     sentencing hearing and further briefing is necessary.          Accordingly,
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     Arturo Hernandez-M is requesting a continuance of the sentencing.
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          Case 1:03-cr-05066-AWI-BAM Document 50 Filed 03/11/16 Page 2 of 3


1          2.    By this stipulation, defendant requests that the

2    sentencing hearing be continued from March 14, 2016, at 10:00 a.m.,

3    to May 9, 2016 at 10:00 a.m., or any date thereafter convenient to

4    the Court.     This continuance will allow defense counsel to finalize

5    his position papers and prepare for the sentencing.

6          3.    The government does not oppose defendants’ request for a

7    continuance.

8          4.    The parties further agree that time may be excluded

9    pursuant to Title 18, United States Code, Section 3161(h)(1)(D) and

10   3161 (7)(B)(iv).

11

12   Dated: March 11,2016
                                        /s/ Kathleen Servatius
13
                                        KATHLEEN SERVATIUS
14                                      Assistant United States Attorneys
                                        Attorneys for Plaintiff
15                                      UNITED STATES OF AMERICA

16
     Dated: March 11,2016               /s/ Arturo Hernandez-M
17                                      ARTURO HERNANDEZ-M
                                        Attorney for Defendant
18                                      OCTAVIO GALLEGOS-VASQUEZ
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21
     IT IS SO ORDERED.
22
     Dated: March 11, 2016
23
                                      SENIOR DISTRICT JUDGE
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     Case 1:03-cr-05066-AWI-BAM Document 50 Filed 03/11/16 Page 3 of 3


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